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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="08fd686ee9"&gt;&lt;span data-sentence-id="8d01951829" quote="false" data-paragraph-id="08fd686ee9"&gt; Rarlin Michael Barbin, Petitioner: &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="0b445d1a4d" quote="false" data-paragraph-id="08fd686ee9"&gt; &lt;br /&gt; The People of the State of Colorado, Respondent: &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="b0c7f327b4"&gt;No. 21SC287&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3430853981"&gt;November 15, 2021&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="bc8183bdaa"&gt;&lt;span data-sentence-id="2ceda5edd8" quote="false" data-paragraph-id="bc8183bdaa"&gt; Court of Appeals Case No. 18CA1956 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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